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                                                 September 6, 2019

    VIA ECF

    Hon. Louis L. Stanton, U.S.D.J.
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, New York 1007-1312

                           Re:   Federal Trade Comm’n, et al. v. Quincy Bioscience Holding Co., Inc.
                                 Case No. 1:17-cv-00124-LLS

    Your Honor:

            We represent defendants Quincy Bioscience Holding Company, Inc., Quincy Bioscience
    LLC, Prevagen, Inc. d/b/a Sugar River Supplements, and Quincy Bioscience Manufacturing, LLC
    (collectively, “Corporate Defendants”) in the above-referenced action. We write today in response
    to Plaintiffs’ letter of August 16, 2019 (Dkt. No. 77) requesting a pre-motion conference regarding
    their intention to file a motion to strike the affirmative defenses raised in the Answers of the
    Corporate Defendants and defendant Mark Underwood (“Plaintiffs’ Letter”). The Corporate
    Defendants submit that Plaintiffs’ request for a pre-motion conference and a motion to strike is
    unnecessary. Plaintiffs’ request to file a motion to strike should be denied.

            First, Plaintiffs’ request for a pre-motion conference should be denied because Plaintiffs
    do not specify which affirmative defenses will be the subject of their proposed motion to strike,
    nor do they suggest why any of the Corporate Defendants’ affirmative defenses should be struck.
    Indeed, Plaintiffs contend there is “a long list of defenses that are deficient on multiple grounds[,]”
    but, at most, identify only three affirmative defenses and do not differentiate between the
    affirmative defenses contained within the Corporate Defendants’ Answer or those in Mr.
    Underwood’s Answer. (Dkt. No. 77.)

            Second, Plaintiffs’ Letter construes GEOMC Co. v. Calmare Therapeutics Inc., 918 F. 3d
    92 (2d Cir. 2019), far too broadly. In GEOMC, the Second Circuit held the plausibility standard
    of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) applies to the pleading of an affirmative
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defense, “but with the recognition that, as the Supreme Court explained in Iqbal, applying the
plausibility standard to any pleading is a ‘context-specific’ task.” GEOMC Co., Ltd., 918 F.3d at
98 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). In the context of an affirmative defense,
an “aspect of the context [that] matters” is that the “pleader of a complaint has the entire time of
the relevant statute of limitations to gather facts necessary to satisfy the plausibility standard.” Id.
In contrast, the pleader of an affirmative defense has only the limited time to respond to the
complaint in accordance with the Federal Rules of Civil Procedure. Id. at 98. Moreover, facts
needed to plead certain affirmative defenses “may not be readily known to the defendant” absent
further discovery. Id. Such “circumstance[s] warrant[] a relaxed application of the plausibility
standard” when pleading an affirmative defense. Id. Indeed, courts in this District have
specifically held that “GEOMC does not stand for the proposition that an affirmative defense must
be pleaded with the same degree of factual detail as a complaint.” New London Assocs., LLC. v.
Kinetic Social LLC, No. 18cv7963 (DLC), 2019 WL 2918163, at *1 (S.D.N.Y. July 8, 2019).

        The circumstances at issue in GEOMC are also vastly different from those presented here.
In GEOMC, the Second Circuit upheld the district court’s striking of two affirmative defenses that
were both “presented at a late stage of litigation” and after “GEOMC filed its second amended
complaint, [but] they were not aimed at the one new cause of action in that complaint but sought
to challenge claims made nearly a year earlier in the first amended complaint” to which the
defendant had already responded. GEOMC, 918 F.3d at 99. The Second Circuit reasoned that
permitting the affirmative defenses and “[e]xpanding the litigation at that stage would have been
prejudicial to GEOMC.” Id.

        Here, the Court is not confronted with the “unusual situation” that the Second Circuit was
faced with in GEOMC. Id. at 94. Rather, the Corporate Defendants filed their Answer in
accordance with the Federal Rules of Civil Procedure before discovery had commenced, and
therefore are entitled to “a relaxed application of the plausibility standard” with respect to their
affirmative defenses. Id. at 98.

        Third, Plaintiffs’ contention that “[s]triking Defendants’ affirmative defenses at this stage
of the case would streamline the case by narrowing issues for discovery” is misplaced. (Dkt. No.
77 at 2.) For example, defenses adjudicated on Defendants’ motions to dismiss are still relevant.
The Court’s decision on a motion to dismiss does not mean that the Corporate Defendants will not
ultimately defeat Plaintiffs’ claims on the merits of those defenses, and such issues will clearly be
germane to discovery as this matter proceeds. Similarly, striking defenses that Plaintiffs
characterize as “denials of the Complaint’s allegations” will not “streamline the case” or “narrow[]
issues for discovery.” Those issues will be the primary focus of discovery regardless of whether
or not they are asserted as an affirmative defense. Plaintiffs, therefore, have “not adequately
explained how [they] would be prejudiced by the addition of these affirmative defenses at this
stage of the litigation.” New London Assocs., Ltd., 2019 WL 2918163, at *2. It is axiomatic that
defendants be permitted to preserve a potential defense and utilize facts to support that defense
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through the discovery process. Foreclosing that opportunity at this earlier stage of the litigation
will only create motion practice later in the litigation when defendants discover facts not
necessarily known to them until the plaintiff engages in the discovery process.

       Finally, the Corporate Defendants must assert all of their affirmative defenses to preserve
them for purposes of any appeal. Engaging in unneeded motion practice and briefing at this early
juncture would be a waste of judicial and party resources and is unnecessary. The Court should
deny Plaintiffs’ request.

        If the Court is inclined to entertain Plaintiffs’ request, the Corporate Defendants submit
that they be afforded an opportunity to amend any affirmative defense that the Court deems is not
sufficiently plead. See Fed. R. Civ. P. 15(a)(2) (“[t]he court should freely give leave [to amend a
pleading] when justice so requires”).



                                                 Respectfully submitted,

                                                 /s/ Geoffrey W. Castello

                                                 Geoffrey W. Castello




cc:    All counsel of record (via ECF)
